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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      VICTORIA DIVISION

RAUL RAMOS,                                              §
                                                         §
         Petitioner,                                     §
                                                         §     CRIMINAL ACTION NO. V-03-40-2
v.                                                       §
                                                         §     CIVIL ACTION NO. V-05-29
UNITED STATES OF AMERICA,                                §
                                                         §
         Respondent.                                     §

                              MEMORANDUM OPINION AND ORDER

         Pending before the Court is Petitioner Raul Ramos’ (“Ramos”) Motion Pursuant to 28 U.S.C.

§ 2255 to Vacate, Set Aside, or Correct a Sentence of a Person in Federal Custody (Dkt. No. 123).

For the reasons set forth herein, Ramos’ § 2255 motion is denied.

                                       Facts and Procedural History

         On June, 19, 2003, the Government filed an indictment against Ramos and three co-

defendants. Dkt. No. 1. The indictment charged Ramos with possession with intent to distribute

approximately 388 kilograms of marihuana and conspiring to do the same. Id. In return for a plea

of guilty to count one of the charge, the Government agreed to move to dismiss the count charging

Ramos with conspiracy. Dkts. No. 50 & 80. The Court accepted Ramos’ guilty plea on September

22, 2003.1 Dkt. No. 50. The Court sentenced Ramos on December 22, 2003, and the Court issued

judgment on December 30, 2003. Dkts. No 78 &. 87. Ramos’ sentence was enhanced based on the

Court’s finding that Ramos’s role in the offense was that of an organizer, leader, manager, or

supervisor and that Ramos had been previously convicted of misprision of a felony. See Dkts. No.



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         Ramos ultimately plead guilty to one count of aiding and abetting to possess with intent to distribute
approximately 349 kilograms of marihuana. Dkt. No. 87.
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69 & 78. Ramos failed to file an appeal and his conviction became final on January 9, 2004. See

FED. R. APP. P. 4(b)(1)(A)(i) (if no appeal is taken, a conviction is final ten days following the entry

of the judgment of conviction); Dkt. No. 87. Although not received by the clerk until March 10,

2005, Ramos filed the pending motion on March 8, 2005, the date on his certificate of service. See

Spotville v. Cain, 149 F.3d 374, 378 (5th Cir. 1998); Dkt. No. 123.

                                             Limitations

       A motion filed under Section 2255 must be filed within one year of the latest of the

following:

       (1) the date on which the judgment of conviction becomes final;

       (2) the date on which the impediment to making a motion created by governmental
       action in violation of the Constitution or laws of the United States is removed, if the
       movant was prevented from making a motion by such governmental action;

       (3) the date on which the right asserted was initially recognized by the Supreme
       Court, if that right has been newly recognized by the Supreme Court and made
       retroactively applicable to cases on collateral review; or

       (4) the date on which the facts supporting the claim or claims presented could have
       been discovered through the exercise of due diligence.

       28 U.S.C. § 2255.

       Nothing in Ramos’s motion supports extending the starting point beyond the date the

judgment became final.

                                             Discussion

       Notwithstanding the time bar, Ramos’ argument fails on the merits. Ramos contends that

the sentence imposed by the Court is unconstitutional in light of Blakely v. Washington, 542 U.S.

296 (2004). Blakely held that, in the context of mandatory state sentencing guidelines, the Sixth

Amendment right to a jury trial prohibits judges from enhancing criminal sentences based on facts

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other than those decided by the jury or admitted by the defendant. Id. at 313-14 (relying on

Apprendi v. New Jersey, 530 U.S. 466 (2000)). The year following Blakely, in United States v.

Booker, a majority of the Supreme Court extended to the federal sentencing guidelines the rule that

pursuant to the Sixth Amendment, any fact, other than the fact of a prior conviction, “which is

necessary to support a sentence exceeding the maximum authorized by the facts established by a

plea of guilty or a jury verdict must be admitted by the defendant or proved to a jury beyond a

reasonable doubt.” United States v. Booker, 543 U.S. 220, 244 (2005).2 Ramos argues that his

sentence must be reduced because Booker made unconstitutional this Court’s use of his leadership

role in the offense and misprision of a felony because these findings were not found by a jury nor

were they admitted by the defendant.

         Indeed, if the Supreme Court decides a case recognizing a new legal right, a federal prisoner

seeking to assert that right will have one year from the decision within which to file his motion to

vacate.3 Dodd v. United States, 545 U.S. 353, 360 (2005). The federal prisoner may take advantage

of that date only if the right is newly recognized and made retroactively applicable to cases on

collateral review. Id. at 358. The Fifth Circuit has ruled that the Booker line of cases is not

retroactive on collateral review for purposes of post-conviction relief under § 2255. United States

v. Gentry, 432 F.3d 600, 604 (5th Cir. 2005) (“Booker does not apply retroactively to initial § 2255

motions. . . we hold that Booker does not apply retroactively”). That is, prisoners challenging

judgments that became final before January 12, 2005, may not claim relief pursuant to Booker.


         2
           A different majority of the Court then excised certain statutory provisions that made the federal
guidelines mandatory, thereby rendering the guidelines advisory only. Booker, 543 U.S. at 222.
         3
          Blakely was decided on June 24, 2004, Booker was decided on January 12, 2005, and Ramos filed this §
2255 motion on March 10, 2005—within a year of both Blakely and Booker. Blakely, 542 U.S. 296; Booker, 543
U.S. 220; Dkt. No. 123.

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Because Ramos’ conviction became final on January 9, 2004, the rule announced in Booker does

not apply. Accordingly, Ramos’ claim is not cognizable on collateral review by this § 2255 motion.

Ramos’ argument that his sentence should have been reduced based on Blakely and/or Booker is

without merit.

        Other than his references to Blakely and Booker, Ramos offers no explanation for the late

filing of his motion under 28 U.S.C. § 2255. Therefore, his motion is untimely under the language

of § 2255(1). Since Ramos’ motion was filed more than one year after his conviction became final,

it is barred by the statute of limitations and he is not entitled to relief.

                                     Certificate of Appealability

        An appeal may not be taken to the court of appeals from a final order in a habeas corpus

proceeding “unless a circuit justice or judge issues a certificate of appealability” (“COA”). 28

U.S.C. § 2253(c)(1)(A). Although Ramos has not yet filed a notice of appeal, the Court nonetheless

addresses whether he would be entitled to a COA. See Alexander v. Johnson, 211 F.3d 895, 898 (5th

Cir. 2000) (a district court may sua sponte rule on a COA because “the district court that denies a

petitioner relief is in the best position to determine whether the petitioner has made a substantial

showing of a denial of a constitutional right on the issues before that court. Further briefing and

argument on the very issues the court has just ruled on would be repetitious.”).

        A COA “may issue . . . only if the applicant has made a substantial showing of the denial of

a constitutional right.” 28 U.S.C. § 2253(c)(2). “The COA determination under § 2253(c) requires

an overview of the claims in the habeas petition and a general assessment of their merits.” Miller-El

v. Cockrell, 537 U.S. 322, 336, 123 S. Ct. 1029 (2003).

        To warrant a grant of the certificate as to claims denied on their merits, “[t]he petitioner must


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demonstrate that reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484 (2000). This standard requires

a § 2255 movant to demonstrate that reasonable jurists could debate whether the motion should have

been resolved differently, or that the issues presented deserved encouragement to proceed further.

United States v. Jones, 287 F.3d 325, 329 (5th Cir. 2002) (relying upon Slack, 529 U.S. at 483-84).

       As to claims that the district court rejects solely on procedural grounds, the movant must

show both that “jurists of reasons would find it debatable whether the petition states a valid claim

of the denial of a constitutional right and that jurists of reason would find it debatable whether the

district court was correct in its procedural ruling.” Slack, 529 U.S. at 484.

       The Court concludes that reasonable jurists could not debate the denial of Ramos’ § 2255

motion on substantive grounds nor find that the issues presented are adequate to deserve

encouragement to proceed further. Miller-El v. Cockrell, 537 U.S. 322, 327 (2003) (citing Slack,

529 U.S. at 484). Accordingly, Ramos is not entitled to a COA as to any of his claims.

                                            Conclusion

       For the foregoing reasons, Ramos’ 28 U.S.C. § 2255 Motion is DENIED. The Court also

DENIES Ramos a Certificate of Appealability.

       It is so ORDERED.

                                               Signed this 6th day of November, 2007.



                                               ____________________________________
                                                         JOHN D. RAINEY
                                                 UNITED STATES DISTRICT JUDGE




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